                                                          Case 2:22-cv-00568-DJA Document 1 Filed 04/04/22 Page 1 of 42



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                                                    E-Mail: bpruitt@lvnvlaw.com
                                                    Attorneys for Defendant
                                                6   Nicholas Robison
                                                7                               UNITIED STATES DISTRICT COURT
                                                8                                        DISTRICT OF NEVADA
                                                9   MARIAH MAAS, as Special Administrator for the Case No:
                                                    Estate of Tiffany Slatsky; MARTIN SLATSKY, as
                                               10   parent and legal guardian of CADE SLATSKY, a
                                                    minor,
                                               11
                                                                           Plaintiffs,                               DEFENDANT
                                               12   vs.                                                          NICHOLAS ROBISON’S
                                                                                                                      PETITION
BARRON & PRUITT, LLP

               NORTH LAS VEGAS, NEVADA 89031




                                               13   CHRISTOPHER CANDITO, an individual;                             FOR REMOVAL
                  TELEPHONE (702) 870-3940




                                                    ANDREW CLAPPER, an individual; NICHOLAS
                   FACSIMILE (702) 870-3950
                    3890 WEST ANN ROAD
                    ATTORNEYS AT LAW




                                               14   ROBISON, an individual; ANDREW STOCKER,
                                                    an individual; STEVEN HONSOWETZ, an
                                               15   individual; CITY OF NORTH LAS VEGAS, a
                                                    municipality; NORTH LAS VEGAS FIRE
                                               16   DEPARTMENT, a City of North Las Vegas
                                                    agency; GNLV, LLC dba GOLDEN NUGGET
                                               17   HOTEL & CASINO, a domestic limited-liability
                                                    company; DOMAIN PROPERTY OWNER LLC, a
                                               18   foreign limited-liability company; OAKTREE
                                                    CAPITAL MANAGEMENT L.P., a foreign limited
                                               19   partnership; DOE DEFENDANTS I through XX,
                                                    and ROE CORPORATIONS I through X, inclusive,
                                               20
                                                                           Defendants.
                                               21           TO THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF NEVADA:
                                               22           PLEASE TAKE NOTICE that Defendant NICHOLAS ROBISON, by and through his legal
                                               23   counsel, hereby removes the above-entitled action from the Eighth Judicial District Court, Clark
                                               24   County, Nevada, to the United States District Court for the District of Nevada, pursuant to the
                                               25   provisions of 28 U.S.C. §§ 1331, 1367, 1441, 1443, and 1446. This removal is based upon federal
                                               26   question jurisdiction and is timely. In support of removal, Defendant Robison states as follows:
                                               27   ///

                                               28   ///

                                                                                                  1
                                                        Case 2:22-cv-00568-DJA Document 1 Filed 04/04/22 Page 2 of 42



                                                1                                        THE REMOVED ACTION

                                                2           1.       The above-entitled action commenced in the Eighth Judicial District Court, Clark

                                                    County, Nevada and is now pending in that court as Case No. A-22-847914-C (“State Court Action”).
                                                3
                                                            2.       Plaintiffs commenced the State Court Action by filing a Complaint on February 9,
                                                4
                                                    2022. Copies of Plaintiffs’ Summons and Complaint are attached as EXHBIIT A.
                                                5
                                                            3.       Upon information and belief, Defendant ANDREW CLAPPER was served with the
                                                6
                                                    Complaint on March 3, 2022.
                                                7
                                                            4.       Defendant Robison was served with the Complaint on March 5, 2022. A copy of the
                                                8
                                                    filed Affidavit of Service of Complaint on Defendant Robison is attached as EXHIBIT B.
                                                9
                                                            5.       Upon information and belief, Defendant STEVEN HONSOWETZ was served with the
                                               10
                                                    Complaint on March 14, 2022.
                                               11
                                                            6.       Upon information and belief, Defendant CHRISTOPHER CANDITO was served on
                                               12
                                                    March 31, 2022.
BARRON & PRUITT, LLP

               NORTH LAS VEGAS, NEVADA 89031




                                               13
                                                            7.       Upon information and belief, Defendant ANDREW STOCKER was served on April
                  TELEPHONE (702) 870-3940
                   FACSIMILE (702) 870-3950
                    3890 WEST ANN ROAD
                    ATTORNEYS AT LAW




                                               14
                                                    1, 2022.
                                               15
                                                            8.       Plaintiff has not filed any other affidavit of service for any other defendant named in
                                               16
                                                    the Complaint.
                                               17
                                                            9.       No other defendant named in the Complaint has appeared or filed an answer or
                                               18
                                                    responsive pleading.
                                               19                            FEDERAL QUESTION JURISDICTION EXISTS
                                               20           10.      Plaintiff’s Complaint asserts claims for relief arising under the Fourth and Fourteenth
                                               21   Amendments to the Constitution of the United States and was brought pursuant to 42 U.S.C. § 1983.
                                               22   Accordingly, this action is a civil action for which this Court has original jurisdiction under 28 U.S.C.
                                               23   § 1331, and which may be removed to this Court by Defendant Robison pursuant to 28 U.S.C. §
                                               24   1441(a), because it presents federal questions. E.g., EXHIBIT A, Compl., paras. 48-49, 58-60, 68;
                                               25   see also Baldwin Hills Med. Group v. Los Angeles County Metro. Transp. Auth., 196 Fed. Appx. 567,
                                               26   569 (9th Cir. 2006) (allegations of violations of 42 U.S.C. § 1983 fall within the original jurisdiction

                                               27   of federal district courts).

                                               28
                                                                                                    2
                                                        Case 2:22-cv-00568-DJA Document 1 Filed 04/04/22 Page 3 of 42



                                                1          11.     Pursuant to 28 U.S.C. § 1441 and 1443, Defendants are entitled to the removal of the

                                                2   action to this Court. Additionally, the United States District Court, District of Nevada has jurisdiction

                                                    over any pending state law claims because federal questions predominate this action, and the federal
                                                3
                                                    and state law claims arise from the same nucleus of operative fact and comprise but one constitutional
                                                4
                                                    case or controversy. See 28 U.S.C. §§ 1441(c), 1443, and 1367.
                                                5
                                                           12.     This Court is the proper venue for the removal of this action because it is the district
                                                6
                                                    court of the United States for the district and division embracing the place where the action is pending.
                                                7
                                                    See 28 U.S.C. § 1441(a).
                                                8
                                                                                  NOTICE OF REMOVAL IS TIMELY
                                                9
                                                           13.     On February 7, 2022, Plaintiffs filed their Complaint against Defendants.
                                               10
                                                           14.     Defendant Robison was served with the Complaint on March 5, 2022.
                                               11
                                                           15.     Pursuant to 28 U.S.C. § 1446(b)(1), this notice of removal was timely because it was
                                               12
                                                    filed within thirty days of Defendant Robison’s receipt of the initial pleadings.
BARRON & PRUITT, LLP

               NORTH LAS VEGAS, NEVADA 89031




                                               13
                                                                                        CONSENT TO REMOVAL
                  TELEPHONE (702) 870-3940
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                                               14
                                                           16.     While the Complaint is also brought against defendants CHRISTOPHER CANDITO,
                                               15
                                                    ANDREW CLAPPER, ANDREW STOCKER, STEVEN HONSOWETZ, CITY OF NORTH LAS
                                               16
                                                    VEGAS, NORTH LAS VEGAS FIRE DEPARTMENT, GNLV, LLC dba GOLDEN NUGGET
                                               17
                                                    HOTEL & CASINO, DOMAIN PROPERTY OWNER LLC, and OAKTREE CAPITAL
                                               18
                                                    MANAGEMENT L.P. Defendants CHRISTOPHER CANDITO, ANDREW CLAPPER, STEVEN
                                               19   HONSOWETZ, and ANDREW STOCKER have been served according to affidavits of service filed
                                               20   by the Plaintiff. Upon information and belief, each of these defendants have consented to removal to
                                               21   the United States District Court for the District of Nevada.
                                               22          17.     The docket does not indicate that any of the other defendants named in Plaintiffs’
                                               23   Complaint have been served with the Complaint. Further, only Defendant ANDREW CLAPPER
                                               24   has filed an answer or other responsive pleading in this action. In this matter, consent of un-served
                                               25   defendants is not required where their absence is explained in the removal papers.
                                               26          18.     Although Plaintiffs’ Complaint names fictitious defendants using DOE

                                               27   DEFENDANTS and ROE CORPORATIONS, under 28 U.S.C. § 1441(a) fictitious names “shall be

                                               28
                                                                                                   3
                                                        Case 2:22-cv-00568-DJA Document 1 Filed 04/04/22 Page 4 of 42



                                                1   disregarded” for purposes of removal. Therefore, consent for removal is not required from the DOE

                                                2   DEFENDANTS and ROE CORPORATIONS.

                                                                                                 PLEADINGS
                                                3
                                                           19.     Copies of all remaining pleadings in Defendant Robison’s control are attached as
                                                4
                                                    EXHIBIT C.
                                                5
                                                           WHEREFORE, NICHOLAS ROBISON prays that the above-entitled action be removed
                                                6
                                                    from the Eighth Judicial District Court for County of Clark, State of Nevada, to the United States
                                                7
                                                    District Court for the District of Nevada.
                                                8
                                                                                                  BARRON & PRUITT, LLP
                                                9
                                                                                                  /s/ Joseph Meservy
                                               10
                                                                                                  WILLIAM H. PRUITT, ESQ.
                                               11                                                 Nevada Bar No. 6783
                                                                                                  JOSEPH R. MESERVY, ESQ.
                                               12                                                 Nevada Bar No. 14088
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                                               13                                                 North Las Vegas, NV 89031
                  TELEPHONE (702) 870-3940




                                                                                                  Attorneys for Defendant
                   FACSIMILE (702) 870-3950
                    3890 WEST ANN ROAD
                    ATTORNEYS AT LAW




                                               14                                                 Nicholas Robison

                                               15
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   Case 2:22-cv-00568-DJA Document 1 Filed 04/04/22 Page 5 of 42



EXHIBIT A




              EXHIBIT A




                                       EXHIBIT A
                                                        Case 2:22-cv-00568-DJA Document 1 Filed 04/04/22 Page 6 of 42
                                                                                                                               Electronically Filed
                                                                                                                               2/7/2022 4:59 PM
                                                                                                                               Steven D. Grierson
                                                   1   COMJD                                                                   CLERK OF THE COURT
                                                       LLOYD W. BAKER, ESQ.
                                                   2   Nevada Bar No.: 6893
                                                       ANDREW BARTON, ESQ.
                                                   3   Nevada Bar No.: 12692
                                                       ALYSSA PIRAINO, ESQ.
                                                   4
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                                                  14                                  CLARK COUNTY NEVADA
                                                  15                                        DISTRICT COURT
                                                  16

                                                  17    MARIAH MAAS, as Special Administrator                   Case No.: A-22-847914-C
                                                        for the Estate of Tiffany Slatsky, MARTIN               Dept. No.: 1
                                                  18    SLATSKY, as parent and legal guardian of
                                                        CADE SLATSKY, a minor,                                  COMPLAINT AND DEMAND FOR
                                                  19                                                            JURY TRIAL
                                                                                      Plaintiffs,
                                                  20
                                                        v.
                                                  21
                                                        CHRISTOPHER CANDITO, an individual,
                                                  22
                                                        ANDREW CLAPPER, an individual,
                                                  23    NICHOLAS ROBISON, an individual,
                                                        ANDREW STOCKER, an individual,
                                                  24    STEVEN HONSOWETZ, an individual,
                                                        CITY OF NORTH LAS VEGAS, a
                                                  25    municipality; NORTH LAS VEGAS FIRE
                                                        DEPARTMENT, a City of North Las Vegas
                                                  26    agency; GNLV, LLC dba GOLDEN
                                                        NUGGET HOTEL & CASINO, a Domestic
                                                  27    Limited-Liability Company; DOMAIN
                                                        PROPERTY OWNER LLC; a Foreign
                                                  28    Limited-Liability Company; OAKTREE
                                                                                                    Page 1 of 26

                                                                                   Case Number: A-22-847914-C
                                                       Case 2:22-cv-00568-DJA Document 1 Filed 04/04/22 Page 7 of 42

                                                        CAPITAL MANAGEMENT L.P.; a
                                                   1    Foreign Limited Partnership; DOE
                                                        DEFENDANTS I through XX, and ROE
                                                   2
                                                        CORPORATIONS I through X, inclusive,
                                                   3
                                                                                     Defendants.
                                                   4

                                                   5          Plaintiffs allege the following against Defendants:

                                                   6                                         INTRODUCTION

                                                   7          1.      This action seeks compensatory and punitive damages from Defendants for

                                                   8   violation of various rights under the United States Constitution and state law in connection with

                                                   9   the death of Tiffany Slatsky (“Decedent”).

                                                  10                                                PARTIES
Phone (702) 360-4949 ◊ Facsimile (702) 360-3234
  500 S. EIGHTH STREET, LAS VEGAS, NEVADA 89101




                                                  11          2.      At all relevant times, Tiffany Slatsky (“Decedent”) was a resident of Clark County

                                                  12   in the State of Nevada.
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                                                  13          3.      Plaintiff CADE SLATSKY is Decedent’s heir.

                                                  14          4.      At all relevant times, Plaintiff CADE SLATSKY was and is a resident of Clark

                                                  15   County in the State of Nevada. Additionally, MARTIN SLATSKY, as parent and legal guardian

                                                  16   of CADE SLATSKY was and is a resident of Clark County in the State of Nevada.

                                                  17          5.      MARIAH MAAS as Special Administrator for the Estate of Tiffany Slatsky is a

                                                  18   resident of Clark County in the State of Nevada.

                                                  19          6.      Upon information and belief, at all relevant times, Defendants CHRISTOPHER

                                                  20   CANDITO, ANDREW CLAPPER, NICHOLAS ROBISON, STEVEN HONSOWETZ,

                                                  21   ANDREW STOCKER, and DOE DEFENDANTS were and are residents of Clark County in the

                                                  22   State of Nevada.

                                                  23          7.      Upon information and belief, at all relevant times, Defendants CHRISTOPHER

                                                  24   CANDITO, ANDREW CLAPPER, NICHOLAS ROBISON, STEVEN HONSOWETZ,

                                                  25   ANDREW STOCKER, and DOE DEFENDANTS were employees of Defendant CITY OF

                                                  26   NORTH LAS VEGAS within the North Las Vegas Fire Department.

                                                  27          8.      Defendant CITY OF NORTH LAS VEGAS (“CNLV”) was and is a municipality

                                                  28   within the State of Nevada.
                                                                                                    Page 2 of 26
                                                       Case 2:22-cv-00568-DJA Document 1 Filed 04/04/22 Page 8 of 42

                                                   1          9.      Defendant NORTH LAS VEGAS FIRE DEPARTMENT (“NLVFD”) was and is

                                                   2   an agency governed and funded by the City of North Las Vegas within the State of Nevada.

                                                   3          10.     At all relevant times, CNLV was the employer of Defendants CHRISTOPHER

                                                   4   CANDITO, ANDREW CLAPPER, NICHOLAS ROBISON, STEVEN HONSOWETZ,

                                                   5   ANDREW STOCKER, and DOE DEFENDANTS, who were North Las Vegas Fire Department

                                                   6   firefighters/EMTs. Additionally, upon information and belief, Defendants ANDREW

                                                   7   CLAPPER, NICHOLAS ROBISON, STEVEN HONSOWETZ, ANDREW STOCKER, and

                                                   8   DOE DEFENDANTS were managerial, supervisorial, and policymaking employees of CNLV.

                                                   9          11.     At all relevant times, Defendants CHRISTOPHER CANDITO, ANDREW

                                                  10   CLAPPER, NICHOLAS ROBISON, STEVEN HONSOWETZ, ANDREW STOCKER, and
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                                                  11   DOE DEFENDANTS were duly authorized employees and agents of CNLV, who were acting

                                                  12   under color of law within the course and scope of their respective duties as North Las Vegas Fire
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                                                  13   Department firefighter/EMTs, superior officers, supervisors, and/or managers and with the

                                                  14   complete authority and ratification of their principal, Defendant CNLV.

                                                  15          12.     At all relevant times, Defendants CHRISTOPHER CANDITO, ANDREW

                                                  16   CLAPPER, NICHOLAS ROBISON, STEVEN HONSOWETZ, ANDREW STOCKER, and

                                                  17   DOE DEFENDANTS were duly appointed officers and/or employees or agents of CNLV,

                                                  18   subject to oversight and supervision by CNLV’s elected and non-elected officials.

                                                  19          13.     In doing the acts and failing to act as hereinafter described, Defendants

                                                  20   CHRISTOPHER CANDITO, ANDREW CLAPPER, NICHOLAS ROBISON, STEVEN

                                                  21   HONSOWETZ, ANDREW STOCKER, and DOE DEFENDANTS were acting on the implied

                                                  22   and/or actual permission and consent of CNLV.

                                                  23          14.     Defendant GNLV, LLC dba GOLDEN NUGGET HOTEL & CASINO is a

                                                  24   Domestic Limited-Liability Company registered to do business in Clark County, Nevada.

                                                  25          15.     At all relevant times, Defendant DOMAIN PROPERTY OWNER LLC was a

                                                  26   Foreign Limited-Liability Company registered to do business in Clark County, Nevada, and was

                                                  27   the owner and/or manager of the apartment complex property located at 831 Coronado Center

                                                  28   Drive, #1203, Henderson, NV 89052.
                                                                                                  Page 3 of 26
                                                       Case 2:22-cv-00568-DJA Document 1 Filed 04/04/22 Page 9 of 42

                                                   1          16.     At all relevant times, Defendant OAKTREE CAPITAL MANAGEMENT L.P.

                                                   2   was a Foreign Limited Partnership registered to do business in Clark County, Nevada, and was

                                                   3   the owner and/or manager of the apartment complex property located at 831 Coronado Center

                                                   4   Drive, #1203, Henderson, NV 89052.

                                                   5          17.     Pursuant to NRCP 10(a) and Nurenberger Hercules-Werke GMBH v. Virostek,

                                                   6   107 Nev. 873, 822 P.2d 1100 (1991), the identity of resident and non-resident defendants

                                                   7   designated herein as DOE DEFENDANTS I through XX, and ROE CORPORATIONS I through

                                                   8   X, are presently unknown to Plaintiff. Upon information and belief these DOE and ROE

                                                   9   defendants, and each of them, were involved in the initiation, approval, support, or execution of

                                                  10   one or more of the wrongful acts or omissions upon which this action is premised, or of similar
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                                                  11   actions directed against Plaintiff about which Plaintiff is presently unaware, and which directly

                                                  12   and proximately caused injury and damages to Plaintiff, including but not limited to:
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                                                  13   unreasonably owning, maintaining, operating, entrusting, or repairing any vehicle that caused

                                                  14   injury to Plaintiff. ROE and DOE defendants also include but are not limited to: a) presently

                                                  15   unknown employers of defendant(s) who are responsible for the acts of their employees under

                                                  16   NRS 41.745, or under the doctrine of respondeat superior; b) owners of the defendant’s vehicle

                                                  17   who are liable under NRS 41.440, or the family purpose doctrine; c) persons involved in the

                                                  18   design, manufacturer distribution and placement into the stream of commerce of an unreasonably

                                                  19   dangerous and unfit product that caused damages to Plaintiff, and which persons are strictly liable

                                                  20   under products liability law; and, d) known witnesses whose particular culpability is not known

                                                  21   at this time but may be made known once true facts are learned. As the specific identities of

                                                  22   these parties are revealed through discovery, the DOE or ROE appellation will be replaced to

                                                  23   identify these parties by their true names and capacities. Hereinafter reference to Defendant or

                                                  24   Defendants includes DOES and ROES and each of them.

                                                  25          18.     That upon information and belief, Defendants, inclusive of DOES and ROES, and

                                                  26   each of them, at all relevant times, were the owner, partner, servant, officer, agent, employer

                                                  27   and/or employee of the other, and each of them, and were at all relevant times acting within the

                                                  28
                                                                                                   Page 4 of 26
                                                       Case 2:22-cv-00568-DJA Document 1 Filed 04/04/22 Page 10 of 42

                                                   1   scope and performance of said partnership, agency, master/servant, and employment

                                                   2   relationship.

                                                   3          19.      This Court has jurisdiction over this matter under NRS 14.065 and NRS 4.370(1),

                                                   4   as the facts alleged occurred in Clark County, Nevada and involve an amount in controversy in

                                                   5   excess of $15,000.00. Venue is proper pursuant to NRS 13.040, as Defendants, or any one of

                                                   6   them resided in Clark County, Nevada at the commencement of this action.

                                                   7           FACTUAL ALLEGATIONS COMMON TO ALL CAUSES OF ACTION

                                                   8          20.      Upon information and belief, in the weeks prior to February 21, 2020, a number

                                                   9   of North Las Vegas Fire Department Employees, including Defendants CHRISTOPHER

                                                  10   CANDITO, ANDREW CLAPPER, NICHOLAS ROBISON, STEVEN HONSOWETZ,
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  500 S. EIGHTH STREET, LAS VEGAS, NEVADA 89101




                                                  11   ANDREW STOCKER, and DOE DEFENDANTS, planned a party that would take place at the

                                                  12   GOLDEN NUGGET HOTEL & CASINO on February 21, 2020.
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                                                  13          21.      Upon information and belief, Defendants CHRISTOPHER CANDITO,

                                                  14   ANDREW CLAPPER, NICHOLAS ROBISON, STEVEN HONSOWETZ, and ANDREW

                                                  15   STOCKER, and DOE DEFENDANTS engaged in the purchase, trade, and sale of the illicit drugs

                                                  16   that were to be used and distributed at the February 21, 2020 party.

                                                  17          22.      That on or about February 21, 2020, Decedent, Tiffany Slatsky, attended the party

                                                  18   at GOLDEN NUGGET HOTEL & CASINO, with her husband, Defendant CHRISTOPHER

                                                  19   CANDITO, who was employed as a North Las Vegas firefighter at the time.

                                                  20          23.      Also in attendance were a number of North Las Vegas firefighters, including, but

                                                  21   not limited to, Defendants ANDREW CLAPPER, NICHOLAS ROBISON, STEVEN

                                                  22   HONSOWETZ and ANDREW STOCKER.

                                                  23          24.      At the time of the party, Defendant NICOLAS ROBISON was a North Las Vegas

                                                  24   Fire Captain.

                                                  25          25.      Upon information and belief, attendees at that party, including Decedent, were

                                                  26   engaging in the use of illicit drugs including, but not limited to, morphine, cocaine, and ecstasy.

                                                  27          26.      Upon information and belief, other firefighters and/or employees of Defendant

                                                  28   CNLV were also in attendance at the February 21, 2020 party, and were involved in purchasing,
                                                                                                   Page 5 of 26
                                                       Case 2:22-cv-00568-DJA Document 1 Filed 04/04/22 Page 11 of 42

                                                   1   selling, or otherwise providing the illicit drugs used at that party and are hereby designated as

                                                   2   DOE DEFENDANTS until such time that their identities can be verified.

                                                   3           27.        Upon information and belief, CNLV superior officers and/or employees within

                                                   4   the North Las Vegas Fire Department had knowledge of illicit drug dealings among the

                                                   5   department employees, and either participated in, condoned, or otherwise failed to respond to

                                                   6   such activities.

                                                   7           28.        Upon information and belief, Defendants CHRISTOPHER CANDITO,

                                                   8   ANDREW CLAPPER, NICHOLAS ROBISON, STEVEN HONSOWETZ, and ANDREW

                                                   9   STOCKER, and DOE DEFENDANTS were stationed at North Las Vegas Fire Station 51, which

                                                  10   had a reputation of being a “party station” with numerous employees engaged in the purchase,
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  500 S. EIGHTH STREET, LAS VEGAS, NEVADA 89101




                                                  11   sale, trade, and/or use of steroids and illicit drugs.

                                                  12           29.        At all relevant times, Defendants CANDITO, CLAPPER, ROBISON,
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                                                  13   HONSOWETZ, STOCKER and DOE DEFENDANTS were duly appointed employees or agents

                                                  14   of CNLV and/or NLVFD, subject to oversight and supervision by CNLV and/or NLVFD elected

                                                  15   and non-elected officials.

                                                  16           30.        Upon information and belief, the February 21, 2020 hotel party lasted through the

                                                  17   night and Decedent and Defendant CANDITO did not leave said party until sometime between

                                                  18   5:00 and 7:00am on February 22, 2020.

                                                  19           31.        After leaving the February 21, 2020 party, Decedent and Defendant CANDITO

                                                  20   returned to their residence at 831 Coronado Center Drive, #1203, Henderson, NV 89052.

                                                  21           32.        Upon information and belief, on February 22, 2020, after returning home from the

                                                  22   party, Defendant CANDITO provided Decedent with morphine pills that had been obtained

                                                  23   through dealings with Defendants CLAPPER, ROBISON, HONSOWETZ, STOCKER and DOE

                                                  24   DEFENDANTS.

                                                  25           33.        Shortly after decedent had ingested the subject morphine pills, she began slurring

                                                  26   her words and acting irregularly. Defendant CANDITO, based on his training in emergency

                                                  27   medical care as a North Las Vegas firefighter, believed that decedent was experiencing overdose

                                                  28   symptoms from the subject morphine pills.
                                                                                                      Page 6 of 26
                                                       Case 2:22-cv-00568-DJA Document 1 Filed 04/04/22 Page 12 of 42

                                                   1          34.     On or about February 22, 2020, Defendant CANDITO took decedent from their

                                                   2   residence in Henderson to North Las Vegas Fire Station 51, upon recognizing the overdose

                                                   3   symptoms she was exhibiting. Rather than taking decedent to the nearest hospital, which was

                                                   4   only minutes away, Defendant CANDITO took decedent to his fire station, located

                                                   5   approximately 23 miles away, to administer his own medical care.

                                                   6          35.     Defendant CANDITO used his employee key card to enter North Las Vegas Fire

                                                   7   Station 51, and retrieve Narcan, Zofran, and IV equipment from the station’s medical supplies,

                                                   8   so that he could administer those medications to Decedent.

                                                   9          36.     If Defendant CANDITO was not a CNLV employee and North Las Vegas

                                                  10   firefighter at Station 51, he would not have been able to enter the building and access those
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                                                  11   medical supplies.

                                                  12          37.     Upon information and belief, the CNLV and NLVFD’s regulation and oversight
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                                                  13   of its employees and medical supply stock were so woefully inadequate that Defendant

                                                  14   CANDITO was permitted to enter Station 51 and have unfettered access to dangerous

                                                  15   medications and other medical supplies without question or repercussion.

                                                  16          38.     After retrieving those medications and medical supplies, Defendant CANDITO

                                                  17   went back to his vehicle where he had left Decedent, started an IV in Decedent’s right arm, and

                                                  18   administered approximately two milligrams of Narcan. In doing so, Defendant CANDITO acted

                                                  19   under color of law as a CNLV employee and North Law Vegas firefighter/EMT. The ordinary

                                                  20   private citizen would not have the requisite knowledge, training, and experience to administer an

                                                  21   IV of Narcan, nor would an ordinary citizen have had access to the medical supplies, which

                                                  22   Defendant CANDITO obtained at Station 51 and by virtue of his position as a CNLV employee

                                                  23   and North Las Vegas firefighter/EMT.

                                                  24          39.     Defendant CANDITO had been trained on details related to the use,

                                                  25   administration, and other specifics related to Narcan as part of his training for the North Las

                                                  26   Vegas Fire Department.

                                                  27

                                                  28
                                                                                                  Page 7 of 26
                                                       Case 2:22-cv-00568-DJA Document 1 Filed 04/04/22 Page 13 of 42

                                                   1          40.     After administering Narcan in his vehicle, Defendant CANDITO drove decedent

                                                   2   back to their residence and Decedent and Defendant CANDITO fell asleep at approximately

                                                   3   2:00am on February 23, 2020.

                                                   4          41.     Upon information and belief, firefighters and medics are trained that Narcan is

                                                   5   only a “temporary blocker” and it is still necessary to transport an individual suspected to be

                                                   6   overdosing to a hospital for further evaluation and monitoring. Accordingly, Defendant

                                                   7   CANDITO either was not properly trained with regards to Narcan administration or he violated

                                                   8   his training with regards to administering Narcan and then returning home, rather than to a

                                                   9   hospital.

                                                  10          42.     At approximately 8:30am on February 23, 2020, Defendant CANDTIO awoke
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                                                  11   and found Decedent unresponsive. At that time, Defendant CANDITO had 911 contacted and

                                                  12   emergency medical personnel were dispatched to the subject residence.
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                                                  13          43.     Prior to paramedics arriving, Defendant CANDITO carried Decedent out to a

                                                  14   nearby curb, and awaited the arrival of medical personnel. When paramedics arrived, they

                                                  15   initially took Decedent back into the residence before then transporting her to the hospital where

                                                  16   she was ultimately pronounced dead on February 23, 2020.

                                                  17          44.     Upon information and belief, Decedent died as a result of multiple drug

                                                  18   intoxication, including morphine.

                                                  19          45.     Thereafter, Henderson PD conducted an investigation of the incident, and

                                                  20   specifically, the subject residence. Various substances were retrieved from the scene, including

                                                  21   psilocybin, MDMA, morphine, cocaine, and tadalafil. Additional medical supplies, including

                                                  22   syringes and saline for intravenous use, were also located inside of the subject residence.

                                                  23          46.     Defendants’ CANDITO, CLAPPER, ROBISON, HONSOWETZ, STOCKER

                                                  24   and DOE DEFENDANTS misuse of power, as described above, possessed by virtue of their

                                                  25   employment with the CNLV and NLVFD, is action taken under the color of state law. Indeed, a

                                                  26   defendant in a 42 U.S.C. section 1983 lawsuit acts under the color of state law when he abuses

                                                  27   the position given to him by the state.

                                                  28   ///
                                                                                                  Page 8 of 26
                                                       Case 2:22-cv-00568-DJA Document 1 Filed 04/04/22 Page 14 of 42

                                                   1                                    FIRST CAUSE OF ACTION

                                                   2    Denial of Medical Care (42 U.S.C. § 1983) against Defendant CANDITO and Defendant

                                                   3                                   CNLV and Defendant NLVFD

                                                   4          47.     Plaintiffs repeat and re-allege each and every allegation in all preceding

                                                   5   paragraphs of this Complaint with the same force and effect as if fully set forth herein.

                                                   6          48.     At all relevant times, CANDITO was acting under color of state law. Further, at

                                                   7   all relevant times, CANDITO was acting within his official capacity, and the CNLV and NLVFD

                                                   8   were a moving force behind the violations of Decedent’s constitutional rights, including the right

                                                   9   to timely medical care under the Fourth Amendment. When CANDITO provided illicit morphine

                                                  10   pills to Decedent and then denied Decedent timely medical care, he exercised power possessed
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                                                  11   by virtue of state law and made possible only because CANDITO was clothed with the authority

                                                  12   of state law. CANDITO was employed by the state and abused the position given to him by the
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                                                  13   state; thus, he acted under color of state law. Further, CANDITO’s actions—including providing

                                                  14   the illicit morphine pills, refusing to take Decedent to the hospital after Decedent exhibited

                                                  15   overdose symptoms, providing his own personal medical treatment to Decedent with medications

                                                  16   and medical supplies he was given free access to at North Las Vegas Fire Station 51—were

                                                  17   performed while CANDITO was acting, purporting to act, or pretending to act in the performance

                                                  18   of his official duties as a firefighter/EMT for the CNLV and/or NLVFD.               Additionally,

                                                  19   CANDITO’s pretense of acting in the performance of his official duties had the purpose and

                                                  20   effect of influencing the behavior of Decedent, percipient witnesses, and his employer the CNLV

                                                  21   and/or NLVFD. Third, CANDITO’s conduct was related in a meaningful way to his status as a

                                                  22   firefighter/EMT for the CNLV and/or NLVFD and performance of his duties as a

                                                  23   firefighter/EMT for the CNLV and/or NLVFD. CANDITO is sued in both his official capacity

                                                  24   and his individual capacity on this claim.

                                                  25          49.     After providing Decedent with the illicit morphine pills—knowing that she had

                                                  26   also ingested a number of other substances, CANDITO did not timely summon reasonable

                                                  27   medical attention for Decedent when he suspected that Decedent was showing symptoms of an

                                                  28
                                                                                                    Page 9 of 26
                                                       Case 2:22-cv-00568-DJA Document 1 Filed 04/04/22 Page 15 of 42

                                                   1   overdose.     CANDITO also prevented medical personnel from timely rendering medical

                                                   2   aid/assistance to Decedent.

                                                   3           50.     Defendant CANDITO caused an undue delay and an interference to provide

                                                   4   timely medical treatment.

                                                   5           51.     CANDITO knew that the failure to provide timely medical treatment to Decedent

                                                   6   could result in further significant injury or the unnecessary and wanton infliction of pain, but

                                                   7   disregarded that serious medical need, causing Decedent great bodily harm and causing

                                                   8   Decedent’s death.

                                                   9           52.     As a result of the denial of medical care, Decedent suffered extreme mental and

                                                  10   physical pain and suffering, loss of enjoyment of life, the loss of her life, and the loss of her
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                                                  11   earning capacity.

                                                  12           53.     The conduct of Defendant CANDITO was willful, wanton, malicious and done
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                                                  13   with reckless disregard for the rights and safety of Decedent and therefore warrants the

                                                  14   imposition of exemplary and punitive damages.

                                                  15           54.     Also as a direct and proximate result of the aforementioned conduct, Plaintiff

                                                  16   CADE SLATSKY has been deprived of the life-long love, companionship, comfort, support,

                                                  17   society, and care of Decedent, and will continue to be so deprived for the remainder of his natural

                                                  18   life.

                                                  19           55.     MARIAH MAAS and MARTIN SLATSKY bring this claim in representative

                                                  20   capacities as the appointed special administrator of Decedent’s Estate, and legal guardian of

                                                  21   Decedent’s surviving child, CADE SLATSKY, respectively.

                                                  22           56.     Plaintiffs also seek attorneys’ fees and costs under this claim.

                                                  23                                   SECOND CAUSE OF ACTION

                                                  24    Fourteenth Amendment—Substantive Due Process, Interference with Familial Relations

                                                  25           (42 U.S.C. § 1983) against Defendants CANDITO, CLAPPER, ROBISON,

                                                  26   HONSOWETZ, STOCKER, and DOE DEFENDANTS, Defendant CNLV, and Defendant

                                                  27                                                NLVFD

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                                                                                                   Page 10 of 26
                                                       Case 2:22-cv-00568-DJA Document 1 Filed 04/04/22 Page 16 of 42

                                                   1          57.     Plaintiffs repeat and re-allege each and every allegation in all preceding

                                                   2   paragraphs of this Complaint with the same force and effect as if fully set forth herein.

                                                   3          58.     At all relevant times, Defendants CANDITO, CLAPPER, ROBISON,

                                                   4   HONSOWETZ, STOCKER, and DOE DEFENDANTS were acting under color of state law.

                                                   5   Further, at all relevant times, Defendants CANDITO, CLAPPER, ROBISON, HONSOWETZ,

                                                   6   STOCKER, and DOE DEFENDANTS were acting within their official capacity, and the CNLV

                                                   7   and NLVFD were a moving force behind the violations of Decedent’s constitutional rights,

                                                   8   including the right to timely medical care under the Fourth Amendment. When Defendants

                                                   9   CANDITO, CLAPPER, ROBISON, HONSOWETZ, STOCKER, and DOE DEFENDANTS

                                                  10   procured and/or provided illicit drugs, including morphine pills for Decedent and then denied
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                                                  11   Decedent timely medical care, they exercised power possessed by virtue of state law and made

                                                  12   possible only because Defendants clothed with the authority of state law.              Defendants
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                                                  13   CANDITO, CLAPPER, ROBISON, HONSOWETZ, STOCKER, and DOE DEFENDANTS

                                                  14   were employed by the state and abused the position given to them by the state; thus, they acted

                                                  15   under color of state law. Further, Defendants’ actions and/or inactions—including providing the

                                                  16   illicit drugs, including morphine pills, refusing to take Decedent to the hospital after Decedent

                                                  17   exhibited overdose symptoms, providing personal medical treatment to Decedent with

                                                  18   medications and medical supplies Defendant CANDITO was given free access to at North Las

                                                  19   Vegas Fire Station 51—were performed while Defendants were acting, purporting to act, or

                                                  20   pretending to act in the performance of their official duties as firefighter/EMTs, officers,

                                                  21   managers, and/or supervisors for the CNLV and/or NLVFD. Additionally, Defendants’ pretense

                                                  22   of acting in the performance of their official duties had the purpose and effect of influencing the

                                                  23   behavior of Decedent, percipient witnesses, and their employer the CNLV and/or NLVFD.

                                                  24   Third, Defendants’ conduct was related in a meaningful way to their status as firefighter/EMTs,

                                                  25   officers, managers, and/or supervisors for the CNLV and/or NLVFD and performance of their

                                                  26   duties for the CNLV and/or NLVFD. Defendants are sued in both their official capacity and

                                                  27   their individual capacity on this claim.

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                                                                                                  Page 11 of 26
                                                       Case 2:22-cv-00568-DJA Document 1 Filed 04/04/22 Page 17 of 42

                                                   1           59.    Plaintiff CADE SLATSKY, through his legal guardian MARTIN SLATSKY, had

                                                   2   a cognizable interest under the Due Process Clause of the Fourteenth Amendment to the United

                                                   3   States Constitution to be free from state actions that deprive him of life, liberty, or property in

                                                   4   such a manner as to shock the conscience, including but not limited to unwarranted state

                                                   5   interference in his family relationship with his mother, Decedent.

                                                   6           60.    Decedent had a cognizable interest under the Due Process Clause of the

                                                   7   Fourteenth Amendment of the United States Constitution to be free from state actions that deprive

                                                   8   her of her right to life, liberty, or property in such a manner as to shock the conscience.

                                                   9           61.    The aforementioned actions of Defendants CANDITO, CLAPPER, ROBISON,

                                                  10   HONSOWETZ, STOCKER, and DOE DEFENDANTS and CNLV, including the provision of
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                                                  11   illicit morphine pills and denial of medical care, along with other undiscovered conduct, to

                                                  12   Decedent, shock the conscience, in that Defendants CANDITO, CLAPPER, ROBISON,
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                                                  13   HONSOWETZ, STOCKER, and DOE DEFENDANTS, CNLV, and NLVFD acted and/or failed

                                                  14   to act with deliberate indifference to the constitutional rights of Decedent and Plaintiff CADE

                                                  15   SLATSKY.

                                                  16           62.    Defendants CANDITO, CLAPPER, ROBISON, HONSOWETZ, STOCKER,

                                                  17   and DOE DEFENDANTS, CNLV, and NLVFD thus violated the substantive due process rights

                                                  18   of Plaintiff CADE SLATSKY to be free from unwarranted interference with his familial

                                                  19   relationship with Decedent, his mother.

                                                  20           63.    Also as a direct and proximate result of the aforementioned conduct, Plaintiff

                                                  21   CADE SLATSKY has been deprived of the life-long love, companionship, comfort, support,

                                                  22   society, and care of Decedent, and will continue to be so deprived for the remainder of his natural

                                                  23   life.

                                                  24           64.    MARIAH MAAS and MARTIN SLATSKY bring this claim in representative

                                                  25   capacities as the appointed special administrator of Decedent’s Estate, and legal guardian of

                                                  26   Decedent’s surviving child, CADE SLATSKY, respectively.

                                                  27           65.    Plaintiffs also seek attorneys’ fees and costs under this claim.

                                                  28   ///
                                                                                                   Page 12 of 26
                                                       Case 2:22-cv-00568-DJA Document 1 Filed 04/04/22 Page 18 of 42

                                                   1                                   THIRD CAUSE OF ACTION

                                                   2     Unconstitutional Custom or Policy (42 U.S.C. § 1983 and Monell) against Defendants

                                                   3           CANDITO, CLAPPER, ROBISON, HONSOWETZ, STOCKER, and DOE

                                                   4     DEFENDANTS (in their official capacity), Defendant CNLV, and Defendant NLVFD

                                                   5          66.     Plaintiffs repeat and re-allege each and every allegation in all preceding

                                                   6   paragraphs of this Complaint with the same force and effect as if fully set forth herein.

                                                   7          67.     The acts of Defendants deprived Plaintiffs and Decedent of their rights under the

                                                   8   United States Constitution.

                                                   9          68.     At all relevant times, Defendants CANDITO, CLAPPER, ROBISON,

                                                  10   HONSOWETZ, STOCKER, and DOE DEFENDANTS were acting under color of state law.
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                                                  11   Further, at all relevant times, Defendants CANDITO, CLAPPER, ROBISON, HONSOWETZ,

                                                  12   STOCKER, and DOE DEFENDANTS were acting within their official capacity, and the CNLV
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                                                  13   was a moving force behind the violations of Decedent’s constitutional rights, including the right

                                                  14   to timely medical care under the Fourth Amendment. When Defendants CANDITO, CLAPPER,

                                                  15   ROBISON, HONSOWETZ, STOCKER, and DOE DEFENDANTS procured and/or provided

                                                  16   illicit drugs, including morphine pills for Decedent and then denied Decedent timely medical

                                                  17   care, they exercised power possessed by virtue of state law and made possible only because

                                                  18   Defendants clothed with the authority of state law.         Defendants CANDITO, CLAPPER,

                                                  19   ROBISON, HONSOWETZ, STOCKER, and DOE DEFENDANTS were employed by the state

                                                  20   and abused the position given to them by the state; thus, they acted under color of state law.

                                                  21   Further, Defendants’ actions and/or inactions—including providing the illicit drugs, including

                                                  22   morphine pills, refusing to take Decedent to the hospital after Decedent exhibited overdose

                                                  23   symptoms, providing personal medical treatment to Decedent with medications and medical

                                                  24   supplies Defendant CANDITO was given free access to at North Las Vegas Fire Station 51—

                                                  25   were performed while Defendants were acting, purporting to act, or pretending to act in the

                                                  26   performance of their official duties as firefighter/EMTs, officers, managers, and/or supervisors

                                                  27   for the CNLV and/or NLVFD. Additionally, Defendants’ pretense of acting in the performance

                                                  28   of their official duties had the purpose and effect of influencing the behavior of Decedent,
                                                                                                  Page 13 of 26
                                                       Case 2:22-cv-00568-DJA Document 1 Filed 04/04/22 Page 19 of 42

                                                   1   percipient witnesses, and their employer the CNLV and/or NLVFD. Third, Defendants’ conduct

                                                   2   was related in a meaningful way to their status as firefighter/EMTs, officers, managers, and/or

                                                   3   supervisors for the CNLV and/or NLVFD and performance of their duties for the CNLV and/or

                                                   4   NLVFD. Defendants are sued in both their official capacity and their individual capacity on this

                                                   5   claim.

                                                   6            69.   During     this    incident,   Defendants      CANDITO,   CLAPPER,   ROBISON,

                                                   7   HONSOWETZ, STOCKER, and DOE Defendants acted pursuant to customs, practices, and

                                                   8   policies of CNLV and/or NLVFD.

                                                   9            70.   On information and belief, prior to the subject incident, Defendants CANDITO,

                                                  10   CLAPPER, ROBISON, HONSOWETZ, STOCKER, and DOE DEFENDANTS were not
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                                                  11   disciplined, reprimanded, retrained, suspended, or otherwise penalized for any similar conduct,

                                                  12   including the use and provision of illicit drugs within the NLVFD or among CNLV employees,
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                                                  13   and the denial of medical care.

                                                  14            71.   Defendants CNLV and NLVFD, as policymakers and supervisors, maintained,

                                                  15   inter alia, the following unconstitutional customs or policies:

                                                  16                  a) Authorizing and/or encouraging firefighter/EMTs, officers, managers, and/or

                                                  17                      supervisors to use NLVFD medical supplies and/or medications for personal

                                                  18                      use;

                                                  19                  b) Complete lack of supervision and oversight of medical supply stocks within

                                                  20                      the NLVFD, despite the stock including dangerous and addictive substances;

                                                  21                  c) Failure to train NLVFD employees regarding the appropriate use of available

                                                  22                      life-saving measures and/or providing appropriate medical care to individuals

                                                  23                      experiencing overdose symptoms from the use of such substances;

                                                  24                  d) Employing and retaining as firefighter/EMTs, officers, managers, and/or

                                                  25                      supervisors, including Defendants CANDITO, CLAPPER, ROBISON,

                                                  26                      HONSOWETZ, STOCKER, and DOE DEFENDANTS, at all times material

                                                  27                      herein, which it knew or should have known had dangerous propensities for

                                                  28                      abusing their authority and access to medical supplies and medication,
                                                                                                     Page 14 of 26
                                                       Case 2:22-cv-00568-DJA Document 1 Filed 04/04/22 Page 20 of 42

                                                   1                      using/trading/selling illicit drugs, and failing to follow written CNLV and/or

                                                   2                      NLVFD policies;

                                                   3                   e) Maintaining a policy of inaction and an attitude of indifference towards illicit

                                                   4                      drug use and abuse of authority within the NLVFD.

                                                   5          72.      The above mentioned policies, practices, and customs were followed by CNLV

                                                   6   and NLVFD with such duration and frequency that employees considered them customary and

                                                   7   accepted by the organization.

                                                   8          73.      Defendants CANDITO, CLAPPER, ROBISON, HONSOWETZ, STOCKER,

                                                   9   and DOE DEFENDANTS had either actual or constructive knowledge of the different policies,

                                                  10   practices, and customs alleged in the paragraphs above. Despite having knowledge as stated
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                                                  11   above, Defendants CANDITO, CLAPPER, ROBISON, HONSOWETZ, STOCKER, DOE

                                                  12   DEFENDANTS, CNLV, and NLVFD condoned, tolerated and through actions and inactions
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                                                  13   ratified such policies. Such Defendants also acted with deliberate indifference to both the

                                                  14   foreseeable effects and consequences of these policies and to the constitutional rights of Plaintiffs

                                                  15   and Decedent.

                                                  16          74.      As a NLVFD Captain, Defendant ROBISON was a superior officer within the

                                                  17   organization. Defendant ROBISON’s involvement in the above mentioned policies, practices,

                                                  18   and customs evidences actual notice and deliberate indifference to the foreseeable consequences

                                                  19   of these practices, but also, constitutes an act by an individual with policy-making authority.

                                                  20          75.      By perpetuating, sanctioning, tolerating, and ratifying Defendants CANDITO,

                                                  21   CLAPPER, ROBISON, HONSOWETZ, STOCKER, and DOE DEFENDANTS’ outrageous

                                                  22   conduct and other wrongful acts, Defendants CNLV and NLVFD acted with an intentional,

                                                  23   reckless, callous disregard for the well-being of Plaintiffs and Decedent, and their constitutional

                                                  24   rights. Furthermore, the policies, practices, and customs implemented, maintained, and still

                                                  25   tolerated by Defendants CNLV and NLVFD were affirmatively linked to and were a significant

                                                  26   influential force behind the constitutional violations and injuries/death of Decedent.

                                                  27          76.      As a direct and proximate result of the aforementioned unconstitutional policies

                                                  28   and customs, Decedent experienced severe physical and emotional pain and suffering and death.
                                                                                                   Page 15 of 26
                                                       Case 2:22-cv-00568-DJA Document 1 Filed 04/04/22 Page 21 of 42

                                                   1           77.    Also as a direct and proximate result of the aforementioned conduct, Plaintiff

                                                   2   CADE SLATSKY has been deprived of the life-long love, companionship, comfort, support,

                                                   3   society, and care of Decedent, and will continue to be so deprived for the remainder of his natural

                                                   4   life.

                                                   5           78.    Accordingly, Defendants CANDITO, CLAPPER, ROBISON, HONSOWETZ,

                                                   6   STOCKER, and DOE DEFENDANTS, in their official capacity, CNLV, and NLVFD are each

                                                   7   liable to Plaintiffs for compensatory damages under 42 U.S.C. § 1983 and Monell on this claim.

                                                   8           79.    MARIAH MAAS and MARTIN SLATSKY bring this claim in representative

                                                   9   capacities as the appointed special administrator of Decedent’s Estate, and legal guardian of

                                                  10   Decedent’s surviving child, CADE SLATSKY, respectively.
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                                                  11           80.    Plaintiffs also seek attorneys’ fees and costs under this claim.

                                                  12                                   FOURTH CAUSE OF ACTION
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                                                  13       Negligence against Defendants CANDITO, CLAPPER, ROBISON, HONSOWETZ,

                                                  14                                  STOCKER, and DOE Defendants

                                                  15           81.    Plaintiffs repeat and re-allege each and every allegation contained in the preceding

                                                  16   paragraphs as though fully set forth herein.

                                                  17           82.    Defendants CANDITO, CLAPPER, ROBISON, HONSOWETZ, STOCKER,

                                                  18   and DOE DEFENDANTS had a duty of reasonable care within their interactions and

                                                  19   involvement with Decedent.

                                                  20           83.    Defendants CANDITO, CLAPPER, ROBISON, HONSOWETZ, STOCKER,

                                                  21   and DOE DEFENDANTS breached that duty of care toward decedent by providing or procuring

                                                  22   illicit drugs, including but not limited to the subject morphine pills, for Decedent and encouraging

                                                  23   Decedent’s use of those illicit drugs.

                                                  24           84.    Defendant CANDITO breached his duty of reasonable care toward decedent

                                                  25   further by failing to seek appropriate medical attention for Decedent when he believed she was

                                                  26   experiencing a morphine overdose, and instead, taking Decedent to his own fire station to provide

                                                  27   his own treatment and returning home.

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                                                                                                  Page 16 of 26
                                                       Case 2:22-cv-00568-DJA Document 1 Filed 04/04/22 Page 22 of 42

                                                   1          85.     As a direct and proximate result of Defendants’ conduct as alleged above, and any

                                                   2   other negligent conduct discovered in the future, Decedent was caused to suffer severe pain,

                                                   3   suffering, and fear. Further, as a direct and proximate result of Defendants’ conduct, Decedent

                                                   4   ultimately died.

                                                   5          86.     Defendants acted with actual malice toward Decedent and Plaintiffs by displaying

                                                   6   a reckless disregard for human life through procuring or providing illicit drugs and denial of

                                                   7   medical care to Decedent, warranting exemplary or punitive damages.

                                                   8          87.     As a direct and proximate result of the aforementioned conduct, Plaintiff CADE

                                                   9   SLATSKY has been deprived of the life-long love, companionship, comfort, support, society,

                                                  10   and care of Decedent, and will continue to be so deprived for the remainder of his natural life.
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                                                  11          88.     MARIAH MAAS and MARTIN SLATSKY bring this claim in representative

                                                  12   capacities as the appointed special administrator of Decedent’s Estate, and legal guardian of
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                                                  13   Decedent’s surviving child, CADE SLATSKY, respectively.

                                                  14          89.     Plaintiffs also seek attorneys’ fees and costs under this claim.

                                                  15                                    FIFTH CAUSE OF ACTION

                                                  16    Civil Liability for Violation of NRS 41.700 against Defendants CANDITO, CLAPPER,

                                                  17                 ROBISON, HONSOWETZ, STOCKER, and DOE Defendants

                                                  18          90.     Plaintiffs repeat and re-allege each and every allegation contained in the preceding

                                                  19   paragraphs as though fully set forth herein.

                                                  20          91.     NRS 41.700 states as follows:

                                                  21                  1. A person who:

                                                  22                          a. Knowingly and unlawfully serves, sells or otherwise furnishes a

                                                  23                             controlled substance to another person; or

                                                  24                          b. Knowingly allows another person to use a controlled substance in an

                                                  25                             unlawful manner on premises or in a conveyance belonging to the

                                                  26                             person allowing the use or over which the person has control, is liable

                                                  27                             in a civil action for any damages caused as a result of the person using

                                                  28                             the controlled substance.
                                                                                                  Page 17 of 26
                                                       Case 2:22-cv-00568-DJA Document 1 Filed 04/04/22 Page 23 of 42

                                                   1                  2. A person who prevails in an action brought pursuant to subsection 1 may

                                                   2                      recover his or her actual damages, attorneys’ fees and costs and any punitive

                                                   3                      damages that the facts may warrant.

                                                   4          92.     Upon information and belief Defendants CANDITO, CLAPPER, ROBISON,

                                                   5   HONSOWETZ, STOCKER, and DOE DEFENDANTS knowingly and unlawfully served, sold,

                                                   6   or otherwise furnished one of more controlled substances to Decedent on or about February 21,

                                                   7   2020 and February 22, 2020.

                                                   8          93.     Alternatively, upon information and belief, Defendants CANDITO, CLAPPER,

                                                   9   ROBISON, HONSOWETZ, STOCKER, and DOE DEFENDANTS knowingly allowed

                                                  10   Decedent to use a controlled substance in an unlawful manner on premises or in a conveyance
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                                                  11   belonging to the person allowing the use or over which the person has control on or about

                                                  12   February 21, 2020 and February 22, 2020.
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                                                  13          94.     At all times relevant hereto, Defendants CANDITO, CLAPPER, ROBISON,

                                                  14   HONSOWETZ, STOCKER, and DOE DEFENDANTS were employed by CNLV and/or

                                                  15   NLVFD, and pursuant to the doctrine of respondeat superior, CNLV and/or NLVFD, are liable

                                                  16   to Plaintiffs for the injuries and damages caused by Defendants’ wrongful acts, as alleged herein.

                                                  17          95.     As a direct and proximate result of Defendants’ conduct as alleged above, and any

                                                  18   other conduct discovered in the future, Decedent was caused to suffer severe pain, suffering, and

                                                  19   fear. Further, as a direct and proximate result of Defendants’ conduct in violation of NRS 41.700,

                                                  20   Decedent ultimately died.

                                                  21          96.     Defendants acted with actual malice toward Decedent and Plaintiffs by displaying

                                                  22   a reckless disregard for human life through procuring or providing illicit drugs and denial of

                                                  23   medical care to Decedent, warranting exemplary or punitive damages.

                                                  24          97.     As a direct and proximate result of the aforementioned conduct, Plaintiff CADE

                                                  25   SLATSKY has been deprived of the life-long love, companionship, comfort, support, society,

                                                  26   and care of Decedent, and will continue to be so deprived for the remainder of his natural life.

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                                                                                                  Page 18 of 26
                                                       Case 2:22-cv-00568-DJA Document 1 Filed 04/04/22 Page 24 of 42

                                                   1             98.    MARIAH MAAS and MARTIN SLATSKY bring this claim in representative

                                                   2   capacities as the appointed special administrator of Decedent’s Estate, and legal guardian of

                                                   3   Decedent’s surviving child, CADE SLATSKY, respectively.

                                                   4             99.    Plaintiffs also seek attorneys’ fees and costs under this claim.

                                                   5                                     SIXTH CAUSE OF ACTION

                                                   6      Violations of the Constitution of the State of Nevada against Defendants CANDITO,

                                                   7    CLAPPER, ROBISON, HONSOWETZ, STOCKER, and DOE DEFENDANTS (in their

                                                   8                     official capacity), Defendant CNLV, and Defendant NLVFD

                                                   9             100.   Plaintiffs repeat and re-allege each and every allegation contained in the preceding

                                                  10   paragraphs as though fully set forth herein.
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                                                  11             101.   The State of Nevada and its political subdivisions have waived their immunity

                                                  12   from liability and consented to have its liability determined in accordance with the same rules of
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                                                  13   law as are applied to civil actions against natural persons and corporations.

                                                  14             102.   The laws of the State of Nevada allow for action for injury, wrongful death or

                                                  15   other damage resulting from the deprivation of any rights, privileges or immunities secured by

                                                  16   the Constitution of the State of Nevada.

                                                  17             103.   Nev. Const. Art. 1, § 8(2) states that no person shall be deprived of life, liberty,

                                                  18   or property, without due process of law.

                                                  19             104.   The Due Process Clause of the Nevada Constitution protects individuals from

                                                  20   state actions that deprive them of life, liberty, or property without due process of law.

                                                  21             105.   At all times relevant hereto, Defendants CANDITO, CLAPPER, ROBISON,

                                                  22   HONSOWETZ, STOCKER, and DOE DEFENDANTS, in their official capacity, CNLV, and

                                                  23   NLVFD, by and through its employees, agents, contractors, and/or staff, including but not limited

                                                  24   to Defendant Employees, violated the Constitution of the State of Nevada by causing Decedent

                                                  25   and Plaintiffs to be deprived of the rights, privileges, and/or immunities secured in the

                                                  26   Constitution of the State of Nevada, as alleged herein, and by failing to adhere to their oath of

                                                  27   office.

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                                                                                                    Page 19 of 26
                                                       Case 2:22-cv-00568-DJA Document 1 Filed 04/04/22 Page 25 of 42

                                                   1          106.    At all times relevant hereto, Defendants CANDITO, CLAPPER, ROBISON,

                                                   2   HONSOWETZ, STOCKER, and DOE DEFENDANTS were employed by CNLV and/or

                                                   3   NLVFD, and pursuant to the doctrine of respondeat superior, CNLV and/or NLVFD, are liable

                                                   4   to Plaintiffs for the injuries and damages caused by Defendants’ wrongful acts, as alleged herein.

                                                   5          107.    At all times relevant hereto, Decedent and Plaintiff CADE SLATSKY were

                                                   6   citizens of the State of Nevada, and individuals who was entitled to the protections of Nev. Const.

                                                   7   Art. 1, § 8(2), as protected under the Nevada Constitution.

                                                   8          108.    The Due Process Clause under the Nev. Const. Art. 1, § 6, requires that the

                                                   9   procedures by which laws are applied be fundamentally fair, so that individuals are not subjected
                                                       to the arbitrary exercise of government power. The appropriate framework for assessing
                                                  10
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                                                       procedural rules requires a determination as to whether the procedures are offensive to the
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                                                  11
                                                       concept of fundamental fairness.
                                                  12
                                                              109.    The denial of medical care by Defendants, and each of them, deprived Decedent
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                                                  13
                                                       of her rights under the Nevada Constitution as set forth herein.
                                                  14          110.    Defendants, and each of them, knew that failure to provide timely medical
                                                  15   treatment to Decedent could result in further significant injury or the unnecessary and wanton

                                                  16   infliction of pain, but disregarded that serious need, causing Decedent great bodily harm and

                                                  17   eventual death.
                                                              111.    Decedent had a right, clearly established and enforceable, as protected under the
                                                  18
                                                       Nevada Constitution, to be free from neglect and physical abuse by Defendants. As a direct and
                                                  19
                                                       proximate result of Defendant’s conduct, Decedent was denied due process of law as protected
                                                  20
                                                       under the Nevada Constitution, by Defendants’ provision of illicit drugs and failure to render her
                                                  21
                                                       aid while in their control and custody. The Defendants’ conduct was offensive to the concept of
                                                  22   fundamental fairness, protected under the Nevada Constitution.
                                                  23          112.    That the wrongful and unlawful acts perpetrated by the Defendants and each of
                                                  24   them, in intentionally disregarding the Nevada constitutional rights of Decedent were willful,

                                                  25   oppressive, malicious, and performed with a wanton disregard for the established and
                                                       constitutionally protected rights of Decedent.
                                                  26

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                                                                                                  Page 20 of 26
                                                       Case 2:22-cv-00568-DJA Document 1 Filed 04/04/22 Page 26 of 42

                                                   1          113.    As a direct and proximate result of the aforementioned conduct, Plaintiff CADE

                                                   2   SLATSKY has been deprived of the life-long love, companionship, comfort, support, society,

                                                   3   and care of Decedent, and will continue to be so deprived for the remainder of his natural life.

                                                   4          114.    MARIAH MAAS and MARTIN SLATSKY bring this claim in representative

                                                   5   capacities as the appointed special administrator of Decedent’s Estate, and legal guardian of

                                                   6   Decedent’s surviving child, CADE SLATSKY, respectively.

                                                   7          115.    Plaintiffs also seek attorneys’ fees and costs under this claim.

                                                   8                                 SEVENTH CAUSE OF ACTION

                                                   9            False Imprisonment against Defendants CANDITO, CNLV, and NLVFD

                                                  10          116.    Plaintiffs repeat and re-allege each and every allegation contained in the preceding
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                                                  11   paragraphs as though fully set forth herein.

                                                  12          117.    Defendant CANDITO, while acting under color of law and within the course and
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                                                  13   scope of his duties as a CNLV and/or NLVFD employee, intentionally deprived Decedent of her

                                                  14   freedom of movement by use of force, fraud, deceit, and unreasonable duress.

                                                  15          118.    The conduct of Defendant CANDITO was a substantial factor in causing the harm

                                                  16   and death of Decedent.

                                                  17          119.    CNLV and NLVFD are vicariously liable for the wrongful acts of Defendant

                                                  18   CANDITO because such acts were undertaken under color of law and within the course and

                                                  19   scope of Defendant CANDITO’s duties as a NLVFD firefighter/EMT.

                                                  20          120.    The conduct of Defendant CANDITO was malicious, wanton, oppressive, and

                                                  21   accomplished with a conscious disregard for the rights of Decedent, entitling Plaintiffs to an

                                                  22   award of exemplary and punitive damages.

                                                  23          121.    As a direct and proximate result of the aforementioned conduct, Plaintiff CADE

                                                  24   SLATSKY has been deprived of the life-long love, companionship, comfort, support, society,

                                                  25   and care of Decedent, and will continue to be so deprived for the remainder of his natural life.

                                                  26          122.    MARIAH MAAS and MARTIN SLATSKY bring this claim in representative

                                                  27   capacities as the appointed special administrator of Decedent’s Estate, and legal guardian of

                                                  28   Decedent’s surviving child, CADE SLATSKY, respectively.
                                                                                                  Page 21 of 26
                                                       Case 2:22-cv-00568-DJA Document 1 Filed 04/04/22 Page 27 of 42

                                                   1          123.    Plaintiffs also seek attorneys’ fees and costs under this claim.

                                                   2                                  EIGHTH CAUSE OF ACTION

                                                   3                   Battery against Defendants CANDITO, CNLV, and NLVFD

                                                   4          124.    Plaintiffs repeat and re-allege each and every allegation contained in the

                                                   5   preceding paragraphs as though fully set forth herein.

                                                   6          125.    Defendant CANDITO, while acting under color of law and within the course and

                                                   7   scope of his duties as a CNLV and/or NLVFD employee, intentionally touched and physically

                                                   8   harmed Decedent, in a number of unwanted ways, including, but not limited to, carrying

                                                   9   Decedent’s body to and from her home and Defendant CANDITO’s vehicle, piercing Decedent’s

                                                  10   skin to administer IV medication at North Las Vegas Fire Station 51, and other manipulations of
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                                                  11   Decedent’s body while providing improper medical care.

                                                  12          126.    As a result of Defendant CANDITO’s actions, Decedent suffered severe pain and
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                                                  13   suffering and ultimately died. Defendant CANDITO had no permission to carry out the

                                                  14   aforementioned physical interactions with Decedent’s body.

                                                  15          127.    The conduct of Defendant CANDITO was a substantial factor in causing the harm

                                                  16   and death of Decedent.

                                                  17          128.    CNLV and NLVFD are vicariously liable for the wrongful acts of Defendant

                                                  18   CANDITO because such acts were undertaken under color of law and within the course and

                                                  19   scope of Defendant CANDITO’s duties as a NLVFD firefighter/EMT.

                                                  20          129.    The conduct of Defendant CANDITO was malicious, wanton, oppressive, and

                                                  21   accomplished with a conscious disregard for the rights of Decedent, entitling Plaintiffs to an

                                                  22   award of exemplary and punitive damages.

                                                  23          130.    As a direct and proximate result of the aforementioned conduct, Plaintiff CADE

                                                  24   SLATSKY has been deprived of the life-long love, companionship, comfort, support, society,

                                                  25   and care of Decedent, and will continue to be so deprived for the remainder of his natural life.

                                                  26          131.    MARIAH MAAS and MARTIN SLATSKY bring this claim in representative

                                                  27   capacities as the appointed special administrator of Decedent’s Estate, and legal guardian of

                                                  28   Decedent’s surviving child, CADE SLATSKY, respectively.
                                                                                                  Page 22 of 26
                                                       Case 2:22-cv-00568-DJA Document 1 Filed 04/04/22 Page 28 of 42

                                                   1          132.    Plaintiffs also seek attorneys’ fees and costs under this claim.

                                                   2                                    NINTH CAUSE OF ACTION

                                                   3     Negligent Security against Defendants GNLV, LLC, DOMAIN PROPERTY OWNER

                                                   4                      LLC, and OAKTREE CAPITAL MANAGEMENT L.P.

                                                   5          133.    Plaintiffs repeat and re-allege each and every allegation contained in the preceding

                                                   6   paragraphs as though fully set forth herein.

                                                   7          134.    Decedent was an invitee on Defendant GNLV, LLC’s property on February 21,

                                                   8   2020 through February 22, 2020.

                                                   9          135.    Additionally, Decedent was a resident of an apartment located at 831 Coronado

                                                  10   Center Drive, #1203, Henderson, NV 89052. Said property was owned and/or managed by
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                                                  11   Defendants     DOMAIN       PROPERTY        OWNER           LLC    and/or   OAKTREE     CAPITAL

                                                  12   MANAGEMENT L.P.;
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                                                  13          136.    GNLV, LLC, as a property owner and innkeeper, owed Decedent a duty to

                                                  14   exercise reasonable care while she was present on their property.

                                                  15          137.    DOMAIN        PROPERTY          OWNER         LLC     and    OAKTREE     CAPITAL

                                                  16   MANAGEMENT L.P. owed Decedent a duty of reasonable care to keep the property secure for

                                                  17   its residents and guests.

                                                  18          138.    Defendant GNLV, LLC had either actual or constructive knowledge of the hotel

                                                  19   party taking place in the paragraphs above.         Despite having knowledge as stated above,

                                                  20   Defendant GNLV, LLC condoned, tolerated and through actions and inactions ratified the

                                                  21   conduct exhibited at the party, including extensive illicit drug use.

                                                  22          139.    It is foreseeable that drugs would be present and taken at a hotel party, such as the

                                                  23   one described above. Likewise, it is foreseeable that a person in attendance at a party such as the

                                                  24   one described above would suffer injury, up to and including death, as a result of an all-night

                                                  25   hotel party.

                                                  26          140.    Defendant GNLV, LLC failed to take reasonable precautions, including, but not

                                                  27   limited to, providing adequate security personnel and equipment, to prevent hotel guests from

                                                  28
                                                                                                   Page 23 of 26
                                                       Case 2:22-cv-00568-DJA Document 1 Filed 04/04/22 Page 29 of 42

                                                   1   holding a party on their premises in which extensive illicit drugs were available, distributed, and

                                                   2   consumed by party-goers.

                                                   3          141.    Defendant GNLV, LLC failed to exercise due care for the safety of Decedent by

                                                   4   allowing their property to be used to hold a party in which extensive illicit drugs were available,

                                                   5   distributed, and consumed by party-goers.

                                                   6          142.    Upon information and belief, prior incidents of similar parties, resulting in acute

                                                   7   drug intoxication, overdose, and death have occurred on the premises and Defendant GNLV,

                                                   8   LLC is aware of said incidents.

                                                   9          143.    Further, Defendants DOMAIN PROPERTY OWNER LLC and OAKTREE

                                                  10   CAPITAL MANAGEMENT L.P. had either actual or constructive knowledge of the illicit drug
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                                                  11   use and distribution taking place on their property, as discussed in the paragraphs above. Despite

                                                  12   having knowledge as stated above, Defendants DOMAIN PROPERTY OWNER LLC and
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                                                  13   OAKTREE CAPITAL MANAGEMENT L.P. condoned, tolerated and through actions and

                                                  14   inactions ratified the conduct.

                                                  15          144.    Defendants DOMAIN PROPERTY OWNER LLC and OAKTREE CAPITAL

                                                  16   MANAGEMENT L.P. failed to take reasonable precautions, including, but not limited to,

                                                  17   providing adequate security personnel and equipment, to prevent residents and guests from

                                                  18   distributing and using illicit drugs on their premises.

                                                  19          145.    Defendants DOMAIN PROPERTY OWNER LLC and OAKTREE CAPITAL

                                                  20   MANAGEMENT L.P. failed to exercise due care for the safety of Decedent by allowing their

                                                  21   property to be used for the distribution and use of illicit drugs.

                                                  22          146.    As a direct and proximate result of Defendants’ conduct as alleged above, and any

                                                  23   other conduct discovered in the future, Decedent was caused to suffer severe pain, suffering, fear,

                                                  24   and death. Further, as a direct and proximate result of Defendants’ conduct in violation of NRS

                                                  25   41.700, Decedent ultimately died.

                                                  26          147.    Defendants acted with actual malice toward Decedent and Plaintiffs by displaying

                                                  27   a reckless disregard for human life through procuring or providing illicit drugs and denial of

                                                  28   medical care to Decedent, warranting exemplary or punitive damages.
                                                                                                   Page 24 of 26
                                                       Case 2:22-cv-00568-DJA Document 1 Filed 04/04/22 Page 30 of 42

                                                   1          148.    As a direct and proximate result of the aforementioned conduct, Plaintiff CADE

                                                   2   SLATSKY has been deprived of the life-long love, companionship, comfort, support, society,

                                                   3   and care of Decedent, and will continue to be so deprived for the remainder of his natural life.

                                                   4          149.    MARIAH MAAS and MARTIN SLATSKY bring this claim in representative

                                                   5   capacities as the appointed special administrator of Decedent’s Estate, and legal guardian of

                                                   6   Decedent’s surviving child, CADE SLATSKY, respectively.

                                                   7          150.    Plaintiffs also seek attorneys’ fees and costs under this claim.

                                                   8          Plaintiffs, expressly reserving the right to amend this Complaint at the time of trial to

                                                   9   include all items of damages not yet ascertained, demands judgment against Defendants, and

                                                  10   each of them, as follows:
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                                                  11          1.      General damages in excess of $15,000;

                                                  12          2.      Special and/or pecuniary damages in excess of $15,000;
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                                                  13          3.      For damages related to Plaintiffs’ grief, sorrow, loss of support, society,

                                                  14                  companionship, and comfort, in an amount to be proven at trial;

                                                  15          4.      For punitive damages on all causes of action;

                                                  16          5.      For equitable relief that Defendants CNLV and NLVFD be required to adopt

                                                  17                  policies to prevent further incidents such as complained of herein;

                                                  18          6.      For equitable relief that Defendants CNLV and NLVFD be required to comply

                                                  19                  with training requirements for its employees to prevent further incidents such as

                                                  20                  complained of herein;

                                                  21          7.      For equitable relief that Defendants CANDITO, CLAPPER, ROBISON,

                                                  22                  HONSOWETZ, STOCKER, and DOE DEFENDANTS be investigated and

                                                  23                  disciplined including, but not limited to, termination of employment;

                                                  24          8.      For any and all pre and post-judgment interest as permitted by law;

                                                  25          9.      For reasonable attorneys’ fees and costs of suit; and

                                                  26          10.     For such other and further relief as the court deems just and proper.

                                                  27          DATED this 7th day of February 2022.

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                                                                                                  Page 25 of 26
                                                       Case 2:22-cv-00568-DJA Document 1 Filed 04/04/22 Page 31 of 42

                                                                                          LLOYD BAKER INJURY ATTORNEYS
                                                   1
                                                                                          /s/ Andrew Barton
                                                   2
                                                                                          LLOYD W. BAKER, ESQ.
                                                   3                                      Nevada Bar No.: 6893
                                                                                          ANDREW BARTON, ESQ.
                                                   4                                      Nevada Bar No.: 12692
                                                                                          ALYSSA N. PIRAINO, ESQ.
                                                   5                                      Nevada Bar No.: 14601
                                                                                          500 S. Eighth Street
                                                   6                                      Las Vegas, Nevada 89l01
                                                                                          Attorneys for Plaintiff
                                                   7

                                                   8

                                                   9

                                                  10
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  500 S. EIGHTH STREET, LAS VEGAS, NEVADA 89101




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   Case 2:22-cv-00568-DJA Document 1 Filed 04/04/22 Page 32 of 42



EXHIBIT B




              EXHIBIT B




                                       EXHIBIT B
Case 2:22-cv-00568-DJA Document 1 Filed 04/04/22 Page 33 of 42
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                                                      Steven D. Grierson
                                                      CLERK OF THE COURT




                      Case Number: A-22-847914-C
   Case 2:22-cv-00568-DJA Document 1 Filed 04/04/22 Page 34 of 42



EXHIBIT C




              EXHIBIT C




                                       EXHIBIT C
                  Case 2:22-cv-00568-DJA Document 1 Filed 04/04/22 Page 35 of 42
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                                                                                                    3/31/2022 10:51 AM
                                 DISTRICT COURT , CLARK COUNTY                                      Steven D. Grierson
                                     CLARK COUNTY, NEVADA                                           CLERK OF THE COURT




TIFFANY SLATSKY

                                                                                          A-22-847914-C


CHRISTOPHER CANDITO, ET AL.                                                               1




  GREGORY BROWN being duly sworn says: That at all times herein affiant was and is a citizen of the United
States, over 18 years of age, not a party to or interested in the proceedings in which this affidavit is made. That
affiant received 1 copy(ies) of the SUMMONS, COMPLAINT, on the 18th day of February, 2022 and served the
same on the 31st day of March, 2022, at 08:17 by:


delivering and leaving a copy with the servee CHRISTOPHER CANDITO at (address) 22010 COLD CREEK
RD., INDIAN SPRINGS NEVADA 89070




                        31                Mar              2022
                                                                                         GREGORY BROWN
                                                                                           R-2020-14947

               EP257074 210894



                                                   Case Number: A-22-847914-C
Case 2:22-cv-00568-DJA Document 1 Filed 04/04/22 Page 36 of 42
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                                                      CLERK OF THE COURT




                      Case Number: A-22-847914-C
Case 2:22-cv-00568-DJA Document 1 Filed 04/04/22 Page 37 of 42
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                      Case Number: A-22-847914-C
Case 2:22-cv-00568-DJA Document 1 Filed 04/04/22 Page 38 of 42
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                      Case Number: A-22-847914-C
Case 2:22-cv-00568-DJA Document 1 Filed 04/04/22 Page 39 of 42
Case 2:22-cv-00568-DJA Document 1 Filed 04/04/22 Page 40 of 42
Case 2:22-cv-00568-DJA Document 1 Filed 04/04/22 Page 41 of 42
JS 44 (Rev. 04/21)               Case 2:22-cv-00568-DJA
                                                    CIVILDocument
                                                          COVER1SHEET
                                                                  Filed 04/04/22 Page 42 of 42
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                       DEFENDANTS
       Mariah Maas as Special Administrator for the Estate of
                                                                                                        Christopher Candito, et al
       Tiffany Slatsky, et al
   (b) County of Residence of First Listed Plaintiff Clark County Nevada                                County of Residence of First Listed Defendant              Clark County Nevada
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                               (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                        NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                   THE TRACT OF LAND INVOLVED.

   (c)   Attorneys (Firm Name, Address, and Telephone Number)                                            Attorneys (If Known)
      Lloyd W. Baker                                              Joseph R. Meservy
      Baker Law Offices 500 S. 8th Street Las Vegas, NV           Barron & Pruitt 3890 W. Ann Rd. N. Las Vegas, NV 89031
      89101
II. BASIS OF JURISDICTION (Place an “X” in One Box Only) III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                     (For Diversity Cases Only)                                    and One Box for Defendant)
  1    U.S. Government               ✖ 3   Federal Question                                                                   PTF        DEF                                         PTF      DEF
         Plaintiff                           (U.S. Government Not a Party)                     Citizen of This State            1          1      Incorporated or Principal Place         4     4
                                                                                                                                                    of Business In This State

  2    U.S. Government                 4   Diversity                                           Citizen of Another State            2          2   Incorporated and Principal Place           5         5
         Defendant                           (Indicate Citizenship of Parties in Item III)                                                          of Business In Another State

                                                                                               Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                 Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                  Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                               TORTS                           FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
  110 Insurance                      PERSONAL INJURY                  PERSONAL INJURY             625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
  120 Marine                         310 Airplane                    365 Personal Injury -            of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
  130 Miller Act                     315 Airplane Product                Product Liability        690 Other                                28 USC 157                        3729(a))
  140 Negotiable Instrument               Liability                  367 Health Care/                                                    INTELLECTUAL                    400 State Reapportionment
  150 Recovery of Overpayment        320 Assault, Libel &                Pharmaceutical                                                PROPERTY RIGHTS                   410 Antitrust
      & Enforcement of Judgment           Slander                        Personal Injury                                               820 Copyrights                    430 Banks and Banking
  151 Medicare Act                   330 Federal Employers’              Product Liability                                             830 Patent                        450 Commerce
  152 Recovery of Defaulted               Liability                  368 Asbestos Personal                                             835 Patent - Abbreviated          460 Deportation
       Student Loans                 340 Marine                          Injury Product                                                    New Drug Application          470 Racketeer Influenced and
       (Excludes Veterans)           345 Marine Product                  Liability                                                     840 Trademark                         Corrupt Organizations
  153 Recovery of Overpayment             Liability                 PERSONAL PROPERTY                      LABOR                       880 Defend Trade Secrets          480 Consumer Credit
      of Veteran’s Benefits          350 Motor Vehicle               370 Other Fraud              710 Fair Labor Standards                 Act of 2016                       (15 USC 1681 or 1692)
  160 Stockholders’ Suits            355 Motor Vehicle               371 Truth in Lending             Act                                                                485 Telephone Consumer
  190 Other Contract                     Product Liability           380 Other Personal           720 Labor/Management                 SOCIAL SECURITY                       Protection Act
  195 Contract Product Liability     360 Other Personal                  Property Damage              Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
  196 Franchise                          Injury                      385 Property Damage          740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                     362 Personal Injury -               Product Liability        751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                         Medical Malpractice                                          Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
      REAL PROPERTY                    CIVIL RIGHTS                 PRISONER PETITIONS            790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
  210 Land Condemnation            ✖ 440 Other Civil Rights          Habeas Corpus:               791 Employee Retirement                                                893 Environmental Matters
  220 Foreclosure                    441 Voting                      463 Alien Detainee               Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
  230 Rent Lease & Ejectment         442 Employment                  510 Motions to Vacate                                             870 Taxes (U.S. Plaintiff             Act
  240 Torts to Land                  443 Housing/                        Sentence                                                           or Defendant)                896 Arbitration
  245 Tort Product Liability             Accommodations              530 General                                                       871 IRS—Third Party               899 Administrative Procedure
  290 All Other Real Property        445 Amer. w/Disabilities -      535 Death Penalty                IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                         Employment                  Other:                       462 Naturalization Application                                             Agency Decision
                                     446 Amer. w/Disabilities -      540 Mandamus & Other         465 Other Immigration                                                  950 Constitutionality of
                                         Other                       550 Civil Rights                 Actions                                                                State Statutes
                                     448 Education                   555 Prison Condition
                                                                     560 Civil Detainee -
                                                                         Conditions of
                                                                         Confinement
V. ORIGIN (Place an “X” in One Box Only)
  1 Original             2 Removed from                     3     Remanded from              4 Reinstated or             5 Transferred from       6 Multidistrict                    8 Multidistrict
    Proceeding             State Court                            Appellate Court              Reopened                    Another District           Litigation -                     Litigation -
                                                                                                                           (specify)                  Transfer                         Direct File
                                       Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                       28 USC 1331, 48 USC 1983
VI. CAUSE OF ACTION                    Brief description of cause:
                                       Alleged violations of 4th and 14th Amendements to US Constitution
VII. REQUESTED IN                           CHECK IF THIS IS A CLASS ACTION                       DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                             UNDER RULE 23, F.R.Cv.P.                                                                          JURY DEMAND:                 ✖   Yes          No
VIII. RELATED CASE(S)
                                           (See instructions):
      IF ANY                                                       JUDGE                                                               DOCKET NUMBER
DATE                                                                 SIGNATURE OF ATTORNEY OF RECORD
                                                                     /s/ Joseph R. Meservy
FOR OFFICE USE ONLY

  RECEIPT #                     AMOUNT                                    APPLYING IFP                                   JUDGE                           MAG. JUDGE
